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[dntcclm] [Notice of Claim]
                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION



In re:                                                                    Case No. 8:13−bk−06404−CPM
                                                                          Chapter 7

Jennifer Kaye Marlow



________Debtor(s)________/
                                      NOTICE OF CLAIM FILED BY DEBTOR

TO:

J.P. Morgan Chase Bank N.A.

   Notice is given pursuant to Fed. R. Bank. P. 3004 that the Debtor filed a claim on your behalf in the above
captioned matter on August 21, 2018, in the amount of $132,300.00.



           Dated August 23, 2018.


                                    Sheryl L. Loesch, Clerk of Court
                                    Sam M. Gibbons United States
                                    Courthouse
                                    801 North Florida Avenue, Suite 555
                                    Tampa, FL 33602
           Copies furnished to:
           Debtor
           Debtor's Attorney
           Trustee
           J.P. Morgan Chase Bank N.A.
